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      20-2948-cv                                                             DATE FILED: March 08, 2022
      Malik v. Network 1 Financial Sec., Inc.

                            UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT

                                         SUMMARY ORDER
  RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A SUMMARY
  ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY FEDERAL RULE OF
  APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1. WHEN CITING A SUMMARY ORDER
  IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST CITE EITHER THE FEDERAL APPENDIX OR AN
  ELECTRONIC DATABASE (WITH THE NOTATION “SUMMARY ORDER”). A PARTY CITING TO A SUMMARY
  ORDER MUST SERVE A COPY OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.

                    At a stated term of the United States Court of Appeals for the Second Circuit,
      held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of
      New York, on the 15th day of February, two thousand twenty-two.

      PRESENT:
                       BARRINGTON D. PARKER JR.,
                       JOSEPH F. BIANCO,
                       STEVEN J. MENASHI,
                            Circuit Judges.
      ------------------------------------------------------------------
      MOHAMMAD A. MALIK,

                                Plaintiff-Appellant,

      KARTHIK REDDY, individually and on behalf of
      all others similarly situated, LOONG CHEE MIN,
      individually and on behalf of all others similarly
      situated, ROBERT E. MILLER, CHEN WEI,
      individually and on behalf of all others similarly
      situated,

                                Plaintiffs,
                       v.                                                   20-2948-cv

      NETWORK 1 FINANCIAL SECURITIES, INC.,

                                Defendant-Appellee,

      LONGFIN CORP., VIVEK KUMAR
      RATAKONDA, ANDY ALTAHAWI, SURESH
      TAMMINEEDI, DORABABU PENUMARTHI,
      VENKAT S. MEENAVALLI,




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                           Defendants.

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FOR PLAINTIFF-APPELLANT:                               DONALD J. ENRIGHT, Levi & Korsinsky, LLP,
                                                       Washington, DC.

FOR DEFENDANT-APPELLEE:                                JEFFREY IMERI (Richard C. Imbrogno, Marshall
                                                       Dennehey Warner, on the brief), Coleman &
                                                       Goggin, P.C., New York, NY.


         Appeal from the orders and judgment of the United States District Court for the Southern

District of New York (Cote, J.).

         UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED that the orders and judgment of the district court are AFFIRMED.

         Mohammad Malik, lead plaintiff in this action, appeals from the orders and judgment of

the district court (Cote, J.) related to claims brought against Network 1 Financial Securities

(“Network 1”) as part of a federal securities class action, filed on April 3, 2018, against Network

1, Longfin Corp. (“Longfin”), Andy Altahawi, and other Longfin executives and insiders. As

relevant to this appeal, the lawsuit alleges that Network 1 participated in a scheme to deceive the

public by facilitating the unlawful issuance of unregistered Longfin securities, thereby causing the

public to purchase unregistered Longfin securities at inflated prices, in violation of Section 10(b)

of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Securities and Exchange

Commission (“SEC”) Rule 10b-5, promulgated thereunder, 17 C.F.R. § 240.10b-5.1. More


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  Plaintiffs also alleged that Network 1 violated Section 12(a)(1) of the Securities Act of 1933, 15 U.S.C. § 771(a)(1).
However, the district court dismissed that claim on the ground that plaintiffs did not allege Network 1 was a “seller”
under Section 12(a)(1). Because plaintiffs do not challenge that ruling on appeal, we deem that claim abandoned. See
Norton v. Sam’s Club, 145 F.3d 114, 117 (2d. Cir. 1998).
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specifically, plaintiffs allege that Network 1, as the lead underwriter for Longfin’s Regulation A+

(“Reg A+”) offering, was aware of, or recklessly disregarded, the fact that a significant number of

Longfin shares had not been validly issued pursuant to a Reg A+ exemption from securities

registration requirements, because they had been transferred to Longfin insiders for no

consideration on December 6, 2017. Accordingly, plaintiffs claim the shares should not have been

publicly traded. Plaintiffs assert that it was through this fraudulent conduct in connection with the

Reg A+ offering that Longfin was able to reach the 1,000,000-share minimum for listing on the

NASDAQ market.

       On appeal, plaintiffs challenge the following: (1) the district court’s June 21, 2019

scheduling order permitting plaintiffs to amend their complaint for a second time, but only in a

limited manner; and (2) the district court’s November 15, 2019 opinion and order denying the

motion for relief from its July 29, 2019 order dismissing Network 1 from the action with prejudice.

Specifically, plaintiffs contend that the district court, in its June 21, 2019 order, improperly denied

plaintiffs’ request for comprehensive leave to amend and then compounded that error by denying

plaintiffs’ subsequent motion for relief, pursuant to Federal Rule of Civil Procedure 60(b)(2), in

which they sought to file a Third Amended Complaint (“TAC”) based on purportedly new

evidence. In denying the Rule 60(b)(2) motion, the district court concluded, inter alia, that the

purported new evidence contained in the TAC would not alter its previous conclusion that the

allegations regarding Network 1’s scienter were insufficiently pled. We assume the parties’

familiarity with the underlying facts and prior record of the proceedings, to which we refer only

as necessary to explain our decision to affirm.

       We review both a “district court’s denial of a postjudgment motion for leave to replead,”

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Williams v. Citigroup Inc., 659 F.3d 208, 212 (2d Cir. 2011), and a “denial of leave to amend under

an abuse of discretion standard,” Hutchison v. Deutsche Bank Sec. Inc., 647 F.3d 479, 490 (2d Cir.

2011) (internal quotation marks omitted). However, when a district court’s denial of leave to

amend was based on an interpretation of law, such as futility, we review that denial de novo.

Panther Partners Inc. v. Ikanos Commc’ns, Inc., 681 F.3d 114, 119 (2d Cir. 2012). To prevail on

a Rule 60(b)(2) motion, “[t]he movant must demonstrate that (1) the newly discovered evidence

was of facts that existed at the time of trial or other dispositive proceeding, (2) the movant must

have been justifiably ignorant of them despite due diligence, (3) the evidence must be admissible

and of such importance that it probably would have changed the outcome, and (4) the evidence

must not be merely cumulative or impeaching.” Mirlis v. Greer, 952 F.3d 36, 50 (2d Cir. 2020)

(quoting United States v. Int’l Brotherhood of Teamsters, 247 F.3d 370, 392 (2d Cir. 2001)), cert.

denied sub nom., Greer v. Mirlis, 141 S. Ct. 1265 (2021).

       As a threshold matter, the parties dispute whether plaintiffs properly requested leave to

amend the pleadings in broad terms, such that they can challenge the limitations placed on such

amendments by the district court in its June 21, 2019 order. The parties similarly dispute whether

the additional allegations that plaintiffs later sought to include in the TAC as part of their Rule

60(b)(2) motion were “newly discovered evidence” or whether such evidence was, in whole or in

part, already available to plaintiffs before the deadline for amending the pleadings. However, we

need not address these issues because we conclude that, even if all of the additional allegations

contained in the proposed TAC are considered, the district court correctly concluded that the

proposed TAC fails to adequately allege scienter as to Network 1 and, thus, any proposed

amendment would be futile.


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       As Network 1 points out, the NASDAQ rules create no separate duty for an underwriter to

guarantee a company’s satisfaction of the listing criteria. See NASDAQ Rule 5205 (requiring the

“Company” ⁠—here, Longfin⁠—to guarantee satisfaction of the listing criteria, but imposing no duty

on an underwriter); NASDAQ FAQ Identification Number 1415 (same). However, where a

defendant is not alleged to have “simply facilitated manipulative conduct,” but instead is a “co-

participant[] . . . in the manipulative scheme and profited by that scheme,” that defendant can be

held liable as a primary violator under Section 10(b) and Rule 10b-5. City of Providence v. Bats

Glob. Mkts., Inc., 878 F.3d 36, 51 (2d Cir. 2017), cert. denied sub nom., BATS Glob. Mkts., Inc. v.

City of Providence, 139 S. Ct. 341 (2018).

       Moreover, to survive a Rule 12(b)(6) motion, a securities fraud claim must “state with

particularity facts giving rise to a strong inference that the defendant acted with the required state

of mind.” 15 U.S.C. §78u-4(b)(2)(A); see also Kleinman v. Elan Corp., 706 F.3d 145, 152 (2d

Cir. 2013). In this Circuit, the scienter requirement is met where the complaint alleges facts

showing either (1) “motive and opportunity to commit the fraud” or (2) “strong circumstantial

evidence of conscious misbehavior or recklessness.” Employees’ Ret. Sys. of Gov’t of the Virgin

Islands v. Blanford, 794 F.3d 297, 306 (2d Cir. 2015) (internal quotation marks omitted).

Recklessness is sufficient to establish scienter only if the defendant’s conduct is “an extreme

departure from the standards of ordinary care to the extent that the danger was either known to the

defendant or so obvious that the defendant must have been aware of it.” In re Carter-Wallace,

Inc., Sec. Litig., 220 F.3d 36, 39 (2d Cir. 2000). A complaint will survive a motion to dismiss for

failure to state a claim “if a reasonable person would deem the inference of scienter cogent and at

least as compelling as any opposing inference one could draw from the facts alleged.” Tellabs,

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Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324 (2007).

        First, plaintiffs failed to sufficiently plead a motive by Network 1 to commit fraud that

would create a strong inference of scienter. “[P]laintiffs [must] allege that defendants benefitted

in some concrete . . . way from the purported fraud.” Novak v. Kasaks, 216 F.3d 300, 307–08 (2d

Cir. 2000). “[F]inancial gain . . . weigh[s] heavily in favor of a scienter inference.” Tellabs, Inc.,

551 U.S. at 325. However, we have emphasized that, “in attempting to show that a defendant had

fraudulent intent, it is not sufficient to allege goals that are possessed by virtually all corporate

insiders.” S. Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109 (2d Cir. 2009) (internal

quotation marks omitted) (providing examples of common goals: “the desire to maintain a high

credit rating for the corporation or otherwise sustain the appearance of corporate profitability or

the success of an investment, or the desire to maintain a high stock price in order to increase

executive compensation”); ECA, Local 134 Local IBEW Joint Pension Tr. of Chicago, 553 F.3d

at 200 (“[T]he desire to maximize the corporation’s profits does not strengthen the inference of an

intent to defraud. . . .”).

        In the TAC, plaintiffs allege that Network 1 negotiated an increase in fees because it sought

to “receive larger commissions on the funds [Longfin] unlawfully raised in the Offering.” Joint

App’x at 652. Although plaintiffs contend that the new motive allegations are sufficient to plead

scienter⁠—namely, that Network 1 negotiated an increased underwriting fee because it realized that

it would not receive commissions from other investments, but from similar unlawful issuances⁠—

we are unpersuaded.           Network 1’s performance of its duty as underwriter and receipt of

commissions thereunder, including its negotiation of higher fees, is insufficient to support scienter

through motive. See ECA, Local 134 IBEW Joint Pension Tr. of Chicago, 553 F.3d at 201


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(observing that an increase in compensation alone cannot support a finding of a motive).

       Because plaintiffs failed to plead particularized facts demonstrating motive and

opportunity to commit fraud, they must plead particularized allegations showing conscious

misbehavior or recklessness to survive a motion to dismiss. In cases in which liability is premised

upon alleged material omissions, if the complaint “does not present facts indicating a clear duty to

disclose, plaintiff’s scienter allegations do not provide strong evidence of conscious misbehavior

or recklessness.” Kalnit v. Eichler, 264 F.3d 131, 144 (2d Cir. 2001) (emphasis omitted). Where

a plaintiff fails to adequately allege motive, as is the case here, the strength of the circumstantial

evidence must be correspondingly greater. Id. at 142.

       Plaintiffs argue that the allegations in the TAC demonstrate that Network 1 was aware of

the NASDAQ requirements for listing and knew Longfin did not meet the requirements, yet

nonetheless chose to participate as an underwriter in violation of a duty to not participate in a

fraudulent offering. We disagree. As the district court explained, much of the “new evidence”

presented in the TAC had no relation to Network 1, such as (1) Longfin’s general ledger for the

period January 1, 2018 through November 29, 2018, and (2) the record of wire transfer transactions

to and from the Longfin escrow account established by Continental Stock Transfer and Trust.

       Moreover, as to the remaining purported new evidence in the TAC⁠—namely, Longfin’s

Control Log, certain monthly statements for three of Longfin’s TD bank accounts, and certain

monthly statements for Longfin’s escrow account at Key Bank⁠—the district court also correctly

determined that such documents do not sufficiently allege scienter. For example, the TAC does

not allege that there was any indication on the Control Log that some of the listed individuals, who

had been issued December 6 shares, were corporate insiders. Instead, plaintiffs assert that Network

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1 should have been separately aware of these individuals’ insider status because, inter alia, their

names also appear on the list of “lock-up” parties contained in the Underwriting Agreement.

However, these allegations sound, at most, in negligence and thus are insufficient to support an

inference of recklessness that satisfies the scienter requirement. See S. Cherry St., LLC, 573 F.3d

at 109 (holding that recklessness requires a “state of mind approximating actual intent, and not

merely a heightened form of negligence”) (internal citation, quotation marks, and emphasis

omitted).

       Similarly, although the TAC alleges that “[t]he records for Longfin’s escrow accounts and

bank account . . . show that none of the December 6 Shareholders paid for the shares,” Joint App’x

at 612 (citation omitted), it is not entirely clear that these are the same records that Longfin

provided to Network 1 after Network 1 requested such documentation regarding the receipt of

funds. For example, the TAC separately alleges that the Longfin transfer agent emailed to Network

1 an “escrow reconciliation printout showing all of the deposits that were received along with the

remittances to Longfin.” Joint App’x at 609. However, there is no indication in the TAC that this

printout showed a lack of consideration for the issuance of any shares. In any event, as the district

court noted in its July 29, 2019 order, there were allegations in the Second Amended Complaint

that Network 1 not only asked for confirmation on two separate occasions regarding payment for

the December 6 shares and received bank statements in response, but also that Network 1 was

“falsely” told by Longfin’s Chief Executive Officer that the funds had been received for the

December 6 shares. Joint App’x at 574. The district court concluded that these allegations “give

rise to an inference that Network 1 did not know that the December 6 shares were issued for no

consideration.” Joint App’x at 574 (emphasis added). We agree. Under the heightened pleading


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standard for this fraud claim, we are required to “take into account plausible opposing inferences”

and consider “plausible, nonculpable explanations for the defendant’s conduct, as well as

inferences favoring the plaintiff.” Tellabs, Inc., 551 U.S. at 323–24. The additional evidence in

the TAC, even when considered with the allegations in the TAC as a whole, does not provide an

inference of scienter that is “cogent and at least as compelling as any opposing inference one could

draw from the facts alleged.” Id. at 324.

       In sum, the TAC does not adequately allege scienter, and therefore does not cure the

deficiencies in the Second Amended Complaint that led to the dismissal of Network 1 from the

action. Accordingly, the district court did not abuse its discretion in dismissing the claims with

prejudice, or in denying plaintiffs’ subsequent motion for reconsideration to file the TAC, because

any such amendment was futile.

                          *                      *                      *

       We have considered plaintiffs’ remaining arguments and find in them no basis for reversal.

Accordingly, we AFFIRM the orders and judgment of the district court.

                                              FOR THE COURT:
                                              Catherine O’Hagan Wolfe, Clerk of Court




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